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10

11                            UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA

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16
     In re Capacitors Antitrust Litigation
17                                                    Case No. 3:17-md-2801-JD

18
     This document relates to:
                                                      PLAINTIFF AVNET, INC.’S
19
                                                      SATISFACTION OF JUDGMENT
     Avnet, Inc., v. Hitachi Chemical Co., Ltd., et   AGAINST DEFENDANTS UNITED
20
     al., Case No. 3:17-cv-07046-JD                   CHEMI-CON, INC. AND NIPPON
21                                                    CHEMI-CON CORPORATION
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            Case 3:17-md-02801-JD           Document 1975            Filed 09/06/23   Page 2 of 2




 1          Plaintiff Avnet, Inc. (“Avnet”) hereby acknowledges that the Judgment entered in favor of
 2   Avnet against Defendants United Chemi-Con, Inc. and Nippon Chemi-Con Corporation
 3   (collectively, the “Chemi-Con Defendants”) has been satisfied and nothing remains unpaid (MDL
 4   ECF No. 1953).
 5          WHEREFORE, Avnet hereby releases the Judgment against the Chemi-Con Defendants
 6   and requests that the Clerk of Court enter said satisfaction.
 7
     Dated: September 6, 2023                              /s/ Scott N. Wagner
 8
                                                            Robert W. Turken (admitted pro hac vice)
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                                                            Attorneys for Plaintiff Avnet, Inc.
17

18                                    CERTIFICATE OF SERVICE

19          The undersigned counsel hereby certifies that a true and correct copy of the foregoing

20   document was served via e-mail through the CM/ECF system for the Northern District of

21   California on all counsel of record on September 6, 2023.

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                                                   /s/ Scott N. Wagner
23                                                 Scott N. Wagner
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